  Case 1:16-cv-01457-RPM Document 87 Filed 08/07/18 USDC Colorado Page 1 of 2

Appellate Case: 17-1106      Document: 010110033679      Date Filed: 08/07/2018    Page: 1
                                                                                     FILED
                                                                         United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                         Tenth Circuit

                                FOR THE TENTH CIRCUIT                           August 7, 2018
                            _________________________________
                                                                             Elisabeth A. Shumaker
                                                                                 Clerk of Court
   LAWRENCE RUBIN MONTOYA,

         Plaintiff - Appellee,

   v.                                                          No. 17-1106
                                                     (D.C. No. 1:16-CV-01457-RPM)
   DETECTIVE MARTIN E. VIGIL, (Shield                           (D. Colo.)
   No. 86-12); DETECTIVE MICHAEL
   MARTINEZ, (Shield No. 82-29);
   LIEUTENANT JONATHAN W. PRIEST,
   (Shield No. 86-12),

         Defendants - Appellants,

   and

   CITY AND COUNTY OF DENVER;
   JOHN DOES, Officers, in their individual
   and official capacities,

         Defendants.
                            _________________________________

                                       JUDGMENT
                            _________________________________

   Before TYMKOVICH, Chief Judge, BRISCOE, and BACHARACH, Circuit Judges.
                    _________________________________

         This case originated in the District of Colorado and was argued by counsel.

         The judgment of that court is reversed. The case is remanded to the United States
  Case 1:16-cv-01457-RPM Document 87 Filed 08/07/18 USDC Colorado Page 2 of 2

Appellate Case: 17-1106     Document: 010110033679         Date Filed: 08/07/2018     Page: 2



   District Court for the District of Colorado for further proceedings in accordance with the

   opinion of this court.


                                                Entered for the Court



                                                ELISABETH A. SHUMAKER, Clerk




                                                   2
